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Elston L Stephenson (Plaintiff, Pro se) . Lo.
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Grand Canyon, AZ 86023 MAR 10 2020 4
March 8, 2020 :
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U.S. District Court Clerk’s Office BY DEPUTY 4

Sandra Day O’Connor U.S. Courthouse, Suite 130
401 W. Washington Street, SPC 1
Phoenix, AZ 85003-2118

Dear Court,

Please receive and consider this correction to MOTION FOR INJUNCTION OF PROTECTION
AGAINST RETALIATION to protect Plaintiff against retaliatory action for appearing before this

Court in the case of STEPHENSON V DRAPEAUX. This is to supersede MOTION dated
March 5, 2020.

Thank You

Sincerely,

Elston L Stephenson
MOTION

Your Honor, respectfully, Plaintiff seeks an Order issued by this Court to the Department of Interior
(DO!) and National Park Service (NPS) protecting Plaintiff from retaliation to include pretextual disciplinary

action and firing as a result of appearing before this Court.

The Court will appreciate that Exhibits Plaintiff has presented before this Court—particularly Exhibit
X-2 map entitled “Surface Gamma Dose Rates” which depicts exposure of visitors on highly trafficked public
footpaths and roads leading to the very popular Hermit’s Rest venue are especially problematic and
represent serious legal and civil jeopardy for the DOI/NPS. The marking “Not to Be Released. FOIA Protected

Document’ is clear intent to hide the uranium radiation exposures from the public and workers. Retaliating

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against Plaintiff for bringing this to GRCA, NPS, DOI, and the Courts attention is foreseeable and preventable
when considering not only the efforts to conceal and keep concealed the dangers and exposures of Grand

Canyon’s visitors, and other safety frauds, but also the context and essence of this case before this Court.
Respectfully, Plaintiff seeks an immediate Injunction ordering that no retaliation be taken.

As the fraud fact pattern already demonstrated before the Court (such as the ‘disappearing of the
firefighter burned in the face by deleting her from the DOI/NPS cyber SMIS reporting system, Exhibit P-1) of
deleting—fraudulently ‘disappearing’ evidence shows; ‘disappearing’ Plaintiff for appearing before this Court

and providing such demonstrative, indisputable evidence is the foreseeable next action.

The Court will recognize in Exhibit Y that upon returning from a recent training (through Miami
International and San Diego International airports) Plaintiff noticed increased surgical mask wear and public
anxiety because of the spread of the corona virus. At the next Park Senior Executive Team (PSET) meeting on
2-11-2020 Plaintiff recounted his observations and concern for Grand Canyon’s workers—particularly those
having “hands-on contact with the public”, workers’ concerns, workers’ protection, and urged developing a
strategy to address these. Defendant is in-charge of the PSET meetings and minutes kept and published from
the meetings. The Court will notice that “Park Senior Executive Team Meeting Notes” (Exhibit Y) published
and sent to ‘All Employees’—while expansive and near ‘total recall’ in chronological detail of all presenters;
lists “Nothing to report at this time. Just returned from training” for Plaintiff. This is despite an extended
(approximately 15 minute) discussion with many different participants contributing concerns to the dialog

raised by Plaintiff. Plaintiff's corona virus and safety concerns are the only remarks edited out.

Plaintiff was forced to send out a correction of the ‘Notes’ in an ‘Ail Employee’ email. (Exhibit Y). This:

correction, just as Plaintiffs warning workers about their uranium exposure, forced increased corona action.

The Court will appreciate that this isa continuation of the same fraudulent fact pattern regarding

dangers to safety already exemplified in Exhibits before the Court. Plaintiff raising and reporting legitimate,

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timely safety dangers, then others fraudulently deleting them to hide them from the public. The ‘Map’ goes
even further. And as previously stated, these and not ‘going along’ are the Motivation for retaliation taken

against Plaintiff by Defendant and others. These deletions, and Defendant’s role are ripe for Finder of Fact.
But this is also a ‘disappearing’ of Plaintiff. A ‘disappearing’ in retaliation which begs for remedy.

Plaintiff has already been confronted in the workplace regarding filings before this Court. This is
prelude. Indications are that further retaliation is on the way.as DOI/NPS will vigorously seek and even
contrive opportunity to discredit, punish, or fire Plaintiff as evidence (Exhibits) against DOI/NPS is

“voluminous” and undeniable. This is why Defendant was caught by a co-worker stalking Plaintiff's home.

Plaintiff respectfully asks that the Court recognize that even as U.S. Attorney intervened and brought
Plaintiff before this Court; any Plaintiff has a Constitutional right to appear before any Court without

suffering intimidation or retaliation.

Respectfully, Plaintiff asks the Court to issue an Injunction protecting Plaintiff against contrived,

pretextual retaliation by the DOI and NPS for appearing and vigorously participating in this case.

Your Honor, respectfully, this protective Injunction is in the interest of Plaintiff's Constitutional right

to fair trail/hearing, in the interest of Justice, in the public interest, and in the Court’s interest as well.

Thank You, Your Honor.

Respectfully Submitted

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Elstan L. Stephenso, OHST

Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

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EXHIBIT Y_

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Safety Add to PSET Notes (2-11-2020)

Stephenson, Elston L <elston_stephenson@nps.gov>
Tue 2/18/2020 6:02 AM
To: NPS GRCA All Employees <GRCA_All_Employees@nps.gov>

} 1 attachments (138 KB)
PSET Notes Feb 11 Final.pdf;

Good Morning Everyone,
Please see the Safety portion of the 2-11-2020 PSET Notes to Read:

* Safety's recent travel to port-of-call airports San Diego Intl and Miami Intl saw increased mask use for
corona virus in 2 weeks. Increased, discernible public apprehension observed between the two visits as
corona spread.
* Safety urged development of strategy for education and messaging for GRCA workers---particularly

_ those having direct, hands-on contact with visitors which gets ahead of spread and answers GRCA
workers concerns and questions. And flexible to meet public sentiment, anxiety, and reactions.
*Safety asked about progress and reiterated urgency/criticality of contract with Clinic to provide
respirator fit-test physicals to workers free of charge to workers. This is an OSHA requirement before
even conducting fit test. If we do not have physicals, we are in violation of OSHA and courting safety
risks.
*We are critically low and need to mass purchase respirators and P100 filters. Fear is that many workers
are using filter beyond recommended use. This is potentially dangerous.
*Safety will be reserving 'Port-a-Count' respirator fit test machine from Region. Expect early March for
mass fit testing. Small window as all Parks in the Region will be requesting the machine.
*Time is now for setting us up for safety success for 2020 such as contracting OSHA 10hour and 30hour
trainers and conducting training before the season begins.

Thank You

Sincerely,

Elston
928-255-8727

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PSET meeting notes - 1.28.20

Risser, Mary V <Mary_Risser@nps.gov>
Tue 2/4/2020 4:12 PM
To: NPS GRCA All Employees <GRCA_All_Employees@nps.gov>

0 1 attachments (148°KB)
January 28 2020 PSET Notes.pdf;

Good afternoon,

We keep exploring additional ways to communicate and let you know what is going on in the park. At last week's PSET
meeting, we agreed to distribute the notes from the meeting to.all employees. Attached you will find our first attempt
to keep you informed. Every member of PSET provided notes about things that are going on in their division.

Please take a look and let me know if you find this information useful.

Thank you,

Mary

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aks Park Senior Executive Team | aah
Meeting Notes
Meeting Date | February 11, 2020
Meeting Time 9:30-11:30
Meeting Location SRM Conference Room
Notes
Mary Risser e Since we are distributing the PSET weekly meeting notes, |
Superintendent probably won’t send out as many updates as | had been doing,

but | will continue to send out notes about things not necessarily
covered in these PSET meeting notes.

e | participated in the National Leadership Council conference call
during which we talked about the 365 migration. Everyone is
encouraged to be patient through the process.

e Following are the secretary’s priorities: fireworks on the National
Mall in Washington and at Mount Rushmore; campground
modernization; concessions regulations, deferred maintenance,
forest management (acres treated); Yellowstone housing; and
Wolf Trap.

e NPSNext will lead us into the second century of service by
providing a streamlined strategic planning process to set
priorities, focus energy, and strengthen operations. WASO is
working on the roll-out scheduled for mid-March. NPSNext will
include new graphics.

e Parks will develop strategic plans to identify steps to lead us to
that second century of service. GRCA is already ahead of the
game because of all the work that you did on the strategic plan
last year. We will meld that work into whatever format is being
requested by NPSNext.

e The shut down on the use of drones is complete because most
drones use parts that were manufactured in China. The only
exceptions include wildland fire, national or state emergencies,
SARs with a life at stake. There is a long list of things that a
superintendent would have to fill out to get a waiver, and waivers
aren't readily being approved.

e White Sands has been re-designated as a national park. A parcel
of land at the Arlington Cemetery has been transferred to the
Army. Studies for Kentucky Wilderness and an Emancipation
Historic Trail have been approved.

e The President has submitted a $2.8 billion budget for FY21 to
Congress. If we should get any questions about the budget,
please refer them to newsmedia.gov.

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Park Senior Executive Team | S.

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Meeting Notes

Brian Drapeaux
Deputy Superintendent

Planning for the Strategic Focus Meeting coming up on February
18-19 in the Park.

Lisa Carrico
Deputy Superintendent

A sincere thank you to all who attended the work sessions on
Wed-Thurs related to the design of the transcanyon waterline. It
was time well spent; the discussions and information sharing will
assure that we make the best possible decisions about one of the
largest projects currently underway in the NPS.

A number of GRCA employees attended the Grand Canyon
Conservancy (GCC) board meeting in Phoenix on Friday-
Saturday. A special shout out to Jenn O'Neill and Todd Stoeber|
for their presentations during new board member orientation. e
also participated in an afternoon session for the development of a
strategic plan for GCC.

Jill Lewis
Administration

Jill will be out of the office on leave 2/14-18. Kim Spaulding will
be acting on 2/14. Monica Brown will be acting on 2/18 and will
call into PSET.

Elston Stephenson
Safety, Health &
Wellness

Nothing to report at this time. Just returned from training.

Sharon Ringsven (A)
Commercial Services

Announcement for Permit Specialist (vice Ashley Dunbar) opened
last Friday.

Reminder: Provide Sharon with GTS land-based on-duty
participants.
NOTE: There is a good chance that starting 2/24, there will be no
regular staffing in the permits program for CUAs and SUPs.
Intermittent staffing will occur when Betsy is able to come to work.
Please expect extended delays to responses. If urgent issues
come up--e.g. On-going significant incident, reach out to
whomever is in the office and we'll figure it out. (Sharon, Christine,
Laurie, Pam, Beth)

Pre-con meeting next Thursday for the temporary comms tower in
the Mission 66 Warehouse Area.

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Park Senior Executive Team Vaca.

Meeting Notes

John Chekan (A)
Planning, Environment
and Projects

e Jenn O'Neill attended the GCC Board Meeting in Phoenix this
past weekend

e Shuttle bus maintenance facility schematic design meeting
occurred 2/4 and 2/5

New Project Initiation Forms (PIFs):
e North Rim and Phantom Ranch Dark Sky Retrofits - Phase 4
(PEP) p

Projects out for IDT Review

e PEPC 95530 Roads Workplan (due 2/21)

e PEPC 93561 Cyclic Exterior Painting of 5 Houses on the North
Rim (2/21)

Consultation in Progress
e none

Letters of Authorization Issued
e PEPC 92906 North Rim Lodge Window Replacement and Log
Oiling (2/10)

External Reviews

e Removing the Kanab Ambersnail From the List of Endangered
and Threatened Wildlife (due 2/7)

e Reclassification of the Humpback Chub from Endangered to
Threatened with a Section 4(d) Rule (due 2/14)

e Navajo Energy Storage Station Pumped Storage Project (due
2/21)

Todd Stoeberl
Interpretation and
Education

e Attended the GCC Board Meeting this past weekend. Five new
board members were installed onto the board.

e With the passing of Ron Brown last week, everyone is invited to
the GCVC at 8am on Wednesday Feb. 12 for a flag raising in
honor of Ron. When his wife Pat passed, a flag was raised in her
honor and he wished the same when he passed. We have the
same flag that was flown when Pat passed.

e GCC Direct Aid has been approved and sent over to GCC.

e This Thursday Feb. 13 at 7:00pm, there will be a special
presentation by Phyllis Kachinhongva, Hopi Elder, who will share
Hopi stories at the Shrine of the Ages. Everyone is welcome.

e Starting on Friday Feb. 14, GCC Field Institute is holding their
annual Guide Training Seminar. All staff are invited to the Shrine
of the Ages.

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Meeting Notes

Donna Richardson
Facility Management

e Attended % day of Shuttle Bus Workshop this past week to assist
in planning

e Attended 2 days for the TCWL Workshop

e Pump 3 Design review and Plans in Hand review was held on
Monday

e Monday 2/10 we have a meeting Lake Mead Agreement/Project
Meeting

e March 2-6th, 2020 IMR is holding a Facility Management
Workshop in north Phoenix. As part of IMAC.I am assisting with
the organization.

e Waterline break at the Bus Parking Lot at Mather Point has been
repaired and restrooms are open.

Mike Collins
Employee and
Organizational
Development

SHRO:

e New SHRO priority list additions are being prioritized and added
to the priority list on Monday, 2/10/2020

e Work is progressing on an agreement between GRCA and the
SHRO to ensure we recognize and capture the funding GRCA
provides to pay for SHRO staff. The agreement will also capture
service level agreements and timelines, as well as needed input
and timely response from GRCA supervisors.

e PSET members please include any weekly hiring updates in the
new section of these PSET notes, at the bottom.

e Find out about the status of hiring actions in the GRCA SHRO
priority sheet:
https://docs.qoogle.com/spreadsheets/d/1isqqmkC5wxAnAFqudXx

YEwbGyobFGJdQaylO6lO9Eyrk/edit#gid=1793284485

e If there is a position that has been in Classification for longer than
two months, please don’t assume it is being worked, as it may
have been lost. Please let Mike Collins know of any
classifications that haven’t been completed after two months.
Classification actions should be completed within three weeks,
and can be inquired about after three weeks.

e Please try to get your hiring packages completed prior to the
point that the SHRO begins working the action. Incomplete hiring

_ packages will slow the process down.

e All hiring actions on the priority list should have a Request to
Recruit form submitted in USA Staffing.

e Great resource to checkout: IMR's Personnel Operations
Sharepoint site: https://sites.google.com/a/nps.gov/imro-
personnel-operations-shros-and-personnel-security/home

Upcoming Training:

e March 18 - New Employee Orientation

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a Park Senior Executive Team aks
Meeting Notes
Matt Vandzura ° e The Backcountry Information Center (backcountry and river
Visitor and Resource permits) has been moved under the supervision of Katie Morris.
Protection A new Branch name is pending that will reflect both the common
visitor education goals as well as the permitting and fee collection
processes.
e Matt will be at IMR CRO training this week, Katie Morris is acting.
chief of VRP.
Jan Balsom e Out of the Office this week.
Senior Advisor/ External
and Tribal Programs
Jeanne Calhoun e Working with WASO Climate Change Response Program to do
Science and Resource climate change modeling based on local precipitation and
Management temperature data in GRCA area. This information will be used to

assist TransCanyon Waterline planning and design.

e Mike Kearsley will lead a river mission Feb 18-21 (Pearce Ferry
uprun) to. deploy acoustic monitoring devices to measure
background soundscape environment; similar surveys of
soundscape background are being performed throughout GRCA.

e Brandon Holton will lead a river mission Feb 24-28 (Diamond
down) to perform winter bat surveys as a followup to detection of
fungus Pd on one bat in GRCA. He will lead another bat survey
mission in May.

e Fire Archaeologist Jason Nez is assisting with pile burns at Indian
Garden Feb 10-14.

e SRM staff are giving presentations at the Feb 14-15th GRCA
Guide Training Seminar.

e Park is reinitiating conversations with AZGFD regarding bison
management at GRCA. The PSET IDT determined that just one
corralling event will be performed during CY 2020 on the North
Rim, likely the first week of September. We don’t anticipate
hosting any lethal culling events during this calendar year.

e Formerly known as the SRM Fisheries Program; this key program
has taken a new, more descriptive name: Native Fish Ecology &
Conservation Program.

e 2019 LIDAR project data collection has been completed and
planning for the next LIDAR segment to be flown is in the works
with partners USFS and USGS.

e The Park completed two-day TCWL workshop Feb 5-6 with SRM
and many other divisions participating, as well as Denver Service
Center, RO staff, and consultant HDR. Evaluating new
information and seeking final decisions regarding water
treatment, pipeline materials, pipeline route, etc. Final
determinations to be completed within one month.

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Meeting Notes

Lily Daniels

Communications/ Public | @ Out of the Office this week.

Affairs

Hiring Updates
or e VRP

o Announcement is out for Dispatchers

o Selection packets are in for a couple more folks in Fee
Branch

o The announcement periods for a paramedic, seasonal
PSAR Rangers, the PSAR seasonal supervisor, and
seasonal paramedics closed on 12/22, we're eagerly
awaiting the certificates of eligible candidates.

e FMD

o Heavy Mobile Equipment Mechanic Helper WG-5803-
05 opened on Friday 2/7/20

o We have 10 Hiring Packets complete and uploaded to
USA Staffing waiting to be worked for a total of 19
positions

o USRO WG-4742-09 tentative offer made

o Tentative Offers have been made for 2 Electricians -
Buildings/Housing

o Trails and N Rim are working on hiring seasonals

o COB’s - J. Bailey 2/29, C. Brothers 2/29, J Pattison
3/14

o Schadrey Rivera (Gerry) has given her resignation

o § Nursery Manager GS-7/9 — recruitment package
under development — need to update JA / QA to
reflect GS-9 level. Lonnie/Santiago are hiring officials.

o § Seasonal Arch, Bio, GIS Techs GS-5/7 —
Currently being hired. Ellen, Greg, and Mark are hiring
leads.

o § Hydro Tech GS-7 TERM — 4 year work for TCP
(waiver approved); PD submitted to HR. Ronda and
Mark hiring co-lead team, with help from Jeanne.

o § Phy Sci GS-9 TERM — 4 year work for TCP (waiver
approved); PD submitted to HR. Ronda and Mark
hiring co-lead team, with help from Jeanne.

